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                             UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA


  UNITED STATES OF AMERICA                                Case No. 1:18-cr-00332-JPH-DML-1

  v.                                                      ORDER ON MOTIONS FOR
                                                          COMPASSIONATE           RELEASE
                                                          UNDER 18 U.S.C. § 3582(c)(1)(A)
  LEWIS THURMAN




        Upon motions of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

 in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

 in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,


 IT IS ORDERED that the motions are:


 ☒ DENIED.


 ☐ DENIED WITHOUT PREJUDICE.


 ☐ OTHER:


 ☒ FACTORS CONSIDERED: See attached opinion.
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:18-cr-00332-JPH-DML
                                                       )
 LEWIS EDWARD THURMAN,                                 ) -01
                                                       )
                               Defendant.              )


                                              ORDER

        Defendant Lewis Thurman has filed two motions seeking compassionate release under

 § 603 of the First Step Act of 2018, which is codified at 18 U.S.C. § 3582(c)(1)(A). United States

 v. Thurman, 1:18-cr-00332-JPH-DML-1, dkts. [55] and [63]. Mr. Thurman asks the Court to

 reduce his sentence to time served. Dkt. 55. The United States argues, in part, that Mr. Thurman's

 motions are barred by the terms of his plea agreement. Dkt. 65 at 11-12. For the reasons stated

 below, Mr. Thurman's motions are denied.

                                            I. Background

        In July 2019, Mr. Thurman executed a petition to enter plea of guilty and plea agreement.

 Dkt. 41. In this plea agreement, Mr. Thurman agreed to plead guilty to one count of possession

 with intent to distribute 100 grams or more of heroin. Id. at 1-2. He admitted to selling controlled

 substances, including no less than 385 grams of heroin, no less than 150 grams of

 methamphetamine (actual), and no less than 180 pounds of marijuana. Id. at 6-7. He also agreed

 to a binding sentence of between 188 and 235 months' imprisonment. Id. at 4. In Paragraph 24 of

 the plea agreement, Mr. Thurman agreed "not to contest, or seek to modify, [his] . . . sentence . . .




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 in any later legal proceeding, including but not limited to, an action brought under 18 U.S.C.

 § 3582 or 28 U.S.C. § 2255." Id. at 8.

        The Court conducted a change of plea and sentencing hearing for Mr. Thurman in January

 2020. Dkt. 48. The Court accepted Mr. Thurman's guilty plea and sentenced him to 192 months'

 imprisonment and four years' supervised release. Id.; see also dkt. 49. Judgment was entered on

 January 10, 2020, dkt. 49, and Mr. Thurman did not appeal his conviction or sentence.

         Nine months after pleading guilty, Mr. Thurman filed a pro se motion and supplemental

 motion asking the Court to reduce his sentence to time served. Dkts. 55 and 63. The United States

 has responded, dkt. 65, and Mr. Thurman has replied, dkt. 66.

                                           II. Discussion

        The First Step Act was enacted on December 21, 2018. See 132 Stat. 5194 (2018). As

 relevant here, § 603 of the First Step Act allows the Court to reduce a sentence upon motion of the

 defendant if the defendant shows an "extraordinary and compelling reason" warranting a sentence

 reduction. 18 U.S.C. § 3582(c)(1)(A)(i). Before enactment of the First Step Act, only the Bureau

 of Prisons could bring a motion for compassionate release. See 18 U.S.C. § 3582(c)(1)(A)

 (effective Nov. 2, 2002 to Dec. 20, 2018).

        In his motion for compassionate release, Mr. Thurman asks the Court to reduce his sentence

 to time served because his medical conditions combined with the risks presented by the COVID-

 19 pandemic create an "extraordinary and compelling reason" for a sentence reduction within the

 meaning of 18 U.S.C. § 3582(c)(1)(A)(i). Dkt. 55 at 2. In its response, the United States argues

 that Mr. Thurman waived his right to seek a sentence modification based on the terms of his plea

 agreement. Dkt. 65 at 11-12. In reply, Mr. Thurman contends that the waiver should not apply




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 because, at the time he was negotiating his plea agreement, "no one could have projected that the

 country would be hit with a COVID-19 pandemic." Dkt. 66 at 5.

        Mr. Thurman's motion for compassionate release must be denied because it is barred by

 the plain terms of his plea agreement. The Seventh Circuit recently held that a waiver of the right

 to file a motion under § 3582 was enforceable against a defendant who signed his plea waiver after

 the First Step Act was enacted but later attempted to file a motion for compassionate release under

 § 3582(c)(1)(A). See United States v. Bridgewater, 995 F.3d 591, 595–602 (7th Cir. 2021). Mr.

 Thurman's plea waiver plainly bars any attempt to file a § 3582 motion, and he signed his plea

 agreement after enactment of the First Step Act. Thus, under Bridgewater, his motion for

 compassionate release must be denied as barred by his plea agreement.

        Mr. Thurman argues that this waiver should not be enforceable because of the unforeseen

 nature of the COVID-19 pandemic. Dkt. 66 at 5. However, the Seventh Circuit specifically rejected

 this argument in Bridgewater, reasoning, "The change of circumstances brought on by the

 pandemic does not render Bridgewater's earlier waiver unknowing or involuntary. 'At worse, he

 did not fully appreciate that he might wish to change his mind later . . . . Yet, such is the risk with

 plea-bargaining and waiver.'" 995 F.3d at 596 (quoting United States v. Alcala, 678 F.3d 574, 580

 (7th Cir. 2012)). Under the binding precedent of Bridgewater, Mr. Thurman's plea waiver is valid

 and thus must be enforced.

                                           III. Conclusion

        For the reasons explained above, Mr. Thurman's motions for compassionate release, dkts.

 [55] and [63], are denied.




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 SO ORDERED.
Date: 10/25/2021




 Distribution:

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